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                                                 #:365


 1     Arjun Vasan
 2     12615 193rd Street
 3     Cerritos, CA 90703
 4     (562) 900-6541
 5     arjun.vasan@gmail.com
 6     Plaintiff In Pro Per
 7
 8
                                    UNITED STATES DISTRICT COURT
 9
                                   CENTRAL DISTRICT OF CALIFORNIA
10
11                                                        Case No.: 2:25-CV-00765-MEMF-JPR
       ARJUN VASAN,
12                                                       PROOF OF SERVICE OF OPPOSITION TO
                                     Plaintiff,
13                                                       DEFENDANT’S MOTION TO DISMISS OR
                      v.                                 TRANSFER VENUE
14
15     CHECKMATE.COM, INC
16     (dba “Checkmate”),
17                                   Defendant.
18
19
20
21     I, Arjun Vasan, am a party to this action and am representing myself in this matter. Due to technical

22     issues with the CM/ECF system, I filed my Opposition to Defendant’s Motion to Dismiss or

23     Transfer through the Court’s EDSS system on April 9, 2025. My contact information is as follows:

24
              Arjun Vasan
25
              12615 193rd Street
26
              Cerritos, CA, 90704
27
              Phone: (562) 900-6541
28


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     Case 2:25-cv-00765-MEMF-JPR            Document 22          Filed 04/11/25     Page 2 of 2 Page ID
                                                 #:366


 1            Email: arjun.vasan@gmail.com

 2     On April 9, 2025, after filing via EDSS, I served the following documents:
 3
          1. Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss or Transfer
 4
          2. Declaration of Arjun Vasan
 5
          3. Declaration of Latha Vasan
 6
          4. Request for Judicial Notice
 7
          5. Exhibits A-J, M, N, O, P and Q and all supporting materials referenced therein.
 8
          6. [Proposed] Order Denying Motion to Dismiss or Transfer
 9
       on the following counsel of record via electronic mail:
10
11         Stacey Chiu
12
           K&L Gates LLP
13
           Email: Stacey.Chiu@klgates.com
14
15     I declare under penalty of perjury under the laws of the United States that the foregoing is true and
       correct.
16
17                                                                   Respectfully Submitted,

18
19
20     Dated: Friday, April 11, 2025                                 _________________________________

21                                                                   Arjun Vasan

22                                                                   Plaintiff In Pro Per

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